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     Attorney for Defendant Hancock
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                                    DISTRICT OF ARIZONA
 8

 9   United States Of America,
                                                    No. 18-cr-1305 PHX GMS
10            Plaintiff,
11     v.                                           NOTICE OF APPEARANCE
12   Thomas William Hancock, (001)
13            Defendant.
14
            NOTICE is hereby given that attorney Cameron A. Morgan enters his
15

16   appearance, pursuant to Criminal Local Rules 57.3, 57.14 and Civil Local Rule
17
     83.3(b)(2) the Rules of Practice for the US District Court for the District of Arizona,
18
     in the above-entitled matter on behalf of Defendant, THOMAS WILLIAM
19

20   HANCOCK, Mr. Hancock is asserting his Constitutional right to have counsel of his
21
     choosing represent him for all further proceedings.
22
            DATED this 1st day of October, 2018.
23

24                                                         /s/Cameron A. Morgan
                                                           Cameron A. Morgan
25                                                         Attorney for Defendant
26
27
                                                         Case 2:18-cr-01305-GMS Document 15 Filed 10/01/18 Page 2 of 2




                                                  1   Certificate of Service
                                                  2   I hereby certify that on the 1st day of September,
                                                      2018, I electronically transmitted the foregoing
                                                  3   document to the Clerk’s Office using the
                                                      CM/ECF System for filing. Upon e-filing
                                                  4
                                                      copies were electronically transmitted to
                                                  5   all registered CM/ECF users on this case.

                                                  6
                                                      By /s/ Dawn-Marie Kenney
                                                  7

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CAMERON A. MORGAN




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